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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

THE STATE OF TEXAS, et al,                   §
                                             §
        Plaintiffs,                          §
                                             §
v.                                           §             Civil Action No. 4:20-cv-00957-SDJ
                                             §
GOOGLE LLC,                                  §
                                             §
        Defendant.                           §



                      DEFENDANT GOOGLE LLC’S UNOPPOSED
                      MOTION FOR LEAVE TO FILE UNDER SEAL


       Defendant Google LLC (“Google”) respectfully moves for leave to file under seal its

December 23, 2024 Reply in Support of its Omnibus Motion to Exclude Expert Testimony

(“Reply”).

                                      LEGAL STANDARD

       While “[t]here is a strong presumption in favor of a common law right of public access to

court proceedings,” United States v. Holy Land Found. for Relief & Dev., 624 F.3d 685, 690 (5th

Cir. 2010), the “right to inspect and copy judicial records is not absolute,” Nixon v. Warner

Commc’ns, Inc., 435 U.S. 589, 597 (1978). For example, courts have recognized that the public’s

right to access is appropriately limited to protect individual privacy, Pugh v. Walmart Stores, Inc.

Tex. Inj. Care Benefit Plan, 2017 WL 11664888, at *1 (E.D. Tex. May 30, 2017), and “sources

of business information that might harm a litigant’s competitive standing,” Nixon, 435 U.S.

at 598. In exercising its discretion to seal judicial records, “the Court must balance the public’s

common law right of access against the interests favoring nondisclosure.” S.E.C. v. Van



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Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993); Binh Hoa Le v. Exeter Fin. Corp., 990 F.3d

410, 419 (5th Cir. 2021) (same).

                                         ARGUMENT

       The Court should allow Google to file its Reply under seal because it discusses and

summarizes sales and financial information, technology, and business strategy that have been

identified by Google as highly sensitive, non-public business information that, if made public,

could cause competitive harm. The technology and products discussed also implicate information

designated as Highly Confidential under the governing Confidentiality Order (Dkt. 182). Courts

routinely recognize that the interest in nondisclosure of this type of sensitive commercial

information outweighs the public’s right of access to court records. See, e.g., Nixon, 435 U.S. at

598.

       If permitted to file its Reply under seal, Google will publicly file a version with

redactions limited to the non-public, highly sensitive business information discussed therein

within seven days, pursuant to Local Rule CV-5(a)(7)(E).

                                        CONCLUSION

       For these reasons, Google’s unopposed motion for leave to file under seal should be

granted.




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Dated: December 23, 2024

                                          Respectfully submitted,

                                          /s/ Kathy D. Patrick
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                               CERTIFICATE OF SERVICE

       I certify that on December 23, 2024, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).



                                                   /s/ Kathy D. Patrick
                                                   Kathy D. Patrick



                            CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule CV-7(i), I certify that the meet and confer requirements in Local

Rule CV-7(h) have been met, and that this motion is unopposed.


                                                   /s/ Kathy D. Patrick
                                                   Kathy D. Patrick




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